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                    EXHIBIT 
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       UNITED STATES SOUTHERN DISTRICT
       SOUTHERN DISTRICT OF NEW YORK
       ----------------------------------------------x
       GRAHAM CHASE ROBINSON,

                                  Plaintiff,

                      -against-           Case No:
                                          1:19-cv-09156 (LTS) (KHP



       ROBERT DE NIRO and CANAL PRODUCTIONS, INC.,
                             Defendants.
       ----------------------------------------------x
                   DEPOSITION TAKEN VIA ZOOM
                   December 20, 2021
                   10:00 a.m.



                DEPOSITION of GRAHAM CHASE ROBINSON, the
       Plaintiff herein, taken by the Defendants, pursuant to
       Article 31 of the Civil Practice Law & Rules of
       Testimony, and Court Order, held at the above-mentioned
       time, before, PAIGE HAYDEN, a Court Reporter and Notary
       Public of the State of New York.
           ----------------------------------------------X




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                                                                  Page 214
 1                     G. C. ROBINSON
 2            the form.
 3           A.      I had seen Dan Harvey
 4        direct Michael Kaplan when it came
 5        to gym equipment and things that had
 6        to do with 110.       I had been directed
 7        by Dan Harvey, as did Amelia and
 8        Olivia, to book flights for Dan
 9        Harvey.     There -- those are some of
10        the things that I can recall at this
11        moment.
12           Q.      Did Dan Harvey ever work on
13        the transactional documents related
14        to any particular film production
15        that Mr. De Niro was involved in?
16                   MS. HARWIN:     Objection to
17            the form.
18           A.      Can you clarify
19        transactional documents?
20           Q.      Well, in -- in connection
21        with your various roles within
22        Canal, over the course of the years,
23        you interacted with Peter Grant on
24        transactions involving Mr. De Niro's
25        acting services, correct?
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                                                                  Page 215
 1                     G. C. ROBINSON
 2                   MS. HARWIN:     Objection to
 3            the form.
 4           A.      I spoke to Peter Grant
 5        about Bob's needs in production.
 6           Q.      Your work went a little bit
 7        more beyond speaking with him,
 8        correct?
 9                   MS. HARWIN:     Objection to
10            the form.
11           A.      Can you clarify?       Can you
12        rephrase that?
13           Q.      It is your words, Ms.
14        Robinson.     Over the course of years
15        you have probably hundreds of
16        e-mails back and forth with Peter
17        Grant reflecting various aspects of
18        work relating to a varying number of
19        films or movies or production that
20        Mr. De Niro was involved in.
21           A.      Yes.
22           Q.      Do you recall specifically
23        working with Peter Grant about, for
24        example, perk budgets?
25                   MS. HARWIN:     Objection to
